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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 _______________________________________________
  IN RE KIA HYUNDAI VEHICLE THEFT                               :
  MARKETING, SALES PRACTICES, AND                               : 8:22-ml-03052 (JVS) (KESx)
  PRODUCTS LIABILITY LITIGATION                                 :
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                         WITHDRAWAL NOTICE OF APPEARANCE

          Please withdrawal my appearance on behalf of plaintiffs Adam Murphy and Julianne

 Shapiro in connection with the above-captioned action.



  Dated: May 9, 2023                                  /s/ Douglas A. Abrahams
                                                      Douglas A. Abrahams
                                                      KOHN, SWIFT & GRAF, P.C.
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                                                      Counsel for Plaintiffs




 {00238992 }
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                                             #:2803




                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 9, 2023, I electronically filed the foregoing paper with the

 Clerk of the Court using the ECF system which will send notification of such filing to all counsel

 of record registered for electronic filing.


  Dated: May 9, 2023                                   Respectfully submitted,


                                                       By: /s/ Douglas A. Abrahams
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 {00238992 }                                       2
